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                                                                                                                               11/5/2020



                                                                                                     November 4, 2020
     BY ECF:

     Hon. John P. Cronan
     United States District Court
     Southern District of New York
     Danial Patrick Moynihan United States Courthouse
     500 Pearl Street
     New York, New York 10007-1312

     Re:         Travelers Property Casualty Company of America v. Harleysville Insurance
                 Company
                 Case Number: 20-cv-6689 (JPC)
                 Our Matter Number: 2020072713

     Dear Judge Cronan:

            This firm represents the plaintiff, Travelers Property Casualty Company of America
     (“Travelers”), in the above referenced matter. I write to request an adjournment of the Initial
     Status Conference in this matter, currently scheduled for November 9, 2020, until November 23,
     2020, or to such other date thereafter as is convenient for the Court.

            The reason for this request is that Defendant Harleysville Insurance Company
     (“Harleysville”) has not yet appeared in this matter, though its deadline to respond to the
     Complaint has passed. Travelers believes that an Initial Status Conference would be more
     productive once Harleysville has appeared and the parties have had an opportunity to submit to
     the court a joint letter and proposed case management plan. I intend to follow up with
     Harleysville directly today and to provide a courtesy copy of the as-served Summons and
     Complaint.

             This is Travelers’ second request for an adjournment of the Initial Status Conference.
     The Initial Status Conference was originally scheduled for October 16, 2020, but Travelers
     sought and this Court granted an adjournment to November 9, 2020, because Harleysville had
     not yet appeared in the action and its deadline to respond to the Complaint was not until after


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   October 16, 2020. Travelers has not sought consent from opposing counsel for the relief
   requested in this letter because no counsel has yet appeared in this matter for Harleysville.


                                                                             Respectfully,

                                                                             /s/ Amy C. Gross

                                                                             Amy C. Gross


  Plaintiff's request is GRANTED. The Initial Pretrial Conference scheduled
  for November 9, 2020, at 3:00 p.m. is hereby adjourned to November
  24, 2020, at 12:00 p.m.


   SO ORDERED.
                                               ___________________________
   Date: November 4, 2020                      JOHN P. CRONAN
                                               United States District Judge
   New York, New York




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